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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY


                                                     Chapter 11
  In re
                                                     Case No. 21-30589 (MBK)
  LTL Management LLC,
                                                     Hearing Date: August 2, 2023 @ 10:00 a.m.
                         Debtor.
                                                     Honorable Michael B. Kaplan, Chief Judge

              UNITED STATES TRUSTEE’S OMNIBUS OBJECTION TO THE
                 SUBSTANTIAL CONTRIBUTION MOTIONS FILED AT
                           DOCKET NOS. 3949 AND 3951

          Andrew R. Vara, the United States Trustee for Regions Three and Nine (“U.S. Trustee”),

 through his undersigned counsel, files this omnibus objection (“Objection”) to: (i) the Omnibus

 Motion of the Substantial Contribution Claimants for Allowance of Administrative Claims for

 Reimbursement of Expenses Incurred for the Period From October 14, 2021 Through November

 12, 2021 (Prior to the Official Committee of Talc Claimants’ Retention of Counsel) That Provided

 a Substantial Contribution in the Debtor’s Case (Dkt. 3949) (the “Omnibus Motion”) and (ii) the

 Motion of Aylstock, Witkin, Kreis & Overholtz, PLLC (Dkt. 3951) (the “Aylstock Motion” and

 together with the Omnibus Motion, the “Substantial Contribution Motions”) and respectfully
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 states:

                                  PRELIMINARY STATEMENT

           In the Omnibus Motion, the movants seek reimbursement of fees and expenses pursuant to

 section 503 of the Bankruptcy Code for the twenty-nine (29) day period between the Petition Date

 and the appointment of the Official Committee of Talc Claimants. In the Aylstock Motion, the

 movant seeks reimbursement of fees and expenses for work performed throughout the pendency

 of the Debtor’s first case, which is divided by the movant into three phases: (i) work performed

 from the Petition Date to the date venue was transferred from North Carolina to New Jersey; (ii)

 work related to the trial on the preliminary injunction and motions to dismiss; and (iii) work

 performed on the appeal of the orders concerning the preliminary injunction and motions to

 dismiss.

           Section 503 of the Bankruptcy Code governs a non-debtor party’s request for compensation

 for substantial contribution to a bankruptcy case. Section 503(b)(4) provides for the allowance for

 the “reasonable compensation for professional services rendered by an attorney or an accountant

 of an entity who expense is allowable under” section 503(b)(3). The Third Circuit interpreted the

 “substantial contribution” standard in Lebron v. Mechem Financial, Inc., 27 F.3d 937 (3d Cir.

 1994).

           The movants must prove by a preponderance of the evidence that they made a substantial

 contribution to the case and have met the requirements of section 503. See In re Buckhead America

 Corp., 161 B.R. 11, 15 (Bankr. D. Del. 1993).

                                          JURISDICTION

            1.    This Court has jurisdiction to hear and determine this Objection.

            2.    Under 28 U.S.C. § 586, the U.S. Trustee is charged with overseeing the

  administration of Chapter 11 cases filed in this judicial district. This duty is part of the U.S.
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  Trustee’s overarching responsibility to enforce the bankruptcy laws as written by Congress and

  interpreted by the courts. See Morgenstern v. Revco D.S., Inc. (In re Revco D.S., Inc.), 898 F.2d

  498, 500 (6th Cir. 1990) (describing the U.S. Trustee as a “watchdog”).

         3.     In every bankruptcy case, the U.S. Trustee is authorized by 28 U.S.C. §

  586(a)(3)(A) to “revie[w] . . . applications for compensation and reimbursement filed under

  section 330 of title 11,” and to “fil[e] with the court comments to such application, and, if the

  United States Trustee considers it to be appropriate, objections to such application.” 11 U.S.C. §

  586(a)(3)(A)(i),(ii). The U.S. Trustee performs this statutory duty in all cases, even when a fee

  examiner or other fee review entity has been appointed.

         4.     Under 11 U.S.C. § 307, the U.S. Trustee has standing to be heard on this Objection.

  See United States Trustee v. Columbia Gas Sys., Inc. (In re Columbia Gas Sys., Inc.), 33 F.3d

  294, 295-96 (3d Cir. 1994) (noting that U.S. Trustee has “public interest standing” under 11

  U.S.C. § 307, which goes beyond mere pecuniary interest).

                  STATEMENT OF RELEVANT FACTS AND BACKGROUND

         5.     On October 14, 2021 (“Petition Date”), LTL Management LLC (the “Debtor”) filed

  its first bankruptcy case in the United States Bankruptcy Court for the Western District of North

  Carolina.

         6.     On October 28, 2021, a Motion to Appoint an Official Committee of Talc Claimants

  (the “Committee”) was filed by the Office of the United States Bankruptcy Administrator.

         7.     On November 8, 2021, the North Carolina Bankruptcy Court entered an order

  appointing the Committee.

         8.     On November 16, 2021, the North Carolina Bankruptcy Court transferred venue of

  the case to the District of New Jersey.



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         9.     On December 1, 2021, the Committee filed a motion to dismiss the Debtor’s chapter

  11 case pursuant to Section 1112(b) of the Bankruptcy Code. On December 9, 2021, Arnold &

  Itkin LLP, through counsel, also filed a motion to dismiss.

         10.    On December 29, 2021, Aylstock, through counsel, filed a Joinder to the motions

  to dismiss filed by the Committee and Arnold & Itkin.

         11.    The Court denied the motions to dismiss.

         12.    Aylstock participated in the subsequent appeal of the Court’s denial of the motions

  to dismiss.

         13.    On January 30, 2023, the Third Circuit issued a decision reversing the bankruptcy

  court and remanding with instructions to dismiss.

         14.    On April 4, 2023, the Court entered an Order (I) Dismissing Debtor’s Chapter 11

  Case Pursuant to 11 U.S.C. § 1112(b); (II) Establishing Procedures with Respect to the Requests

  for Compensation; and (III) Granting Related Relief. (Dkt. 3938). Pursuant to paragraph 8

  thereof, a party seeking payment of a substantial contribution claim had thirty (30) days after the

  case was dismissed to do so.

         15.    On May 3, 2023, the MDL Plaintiffs Steering Committee (the “PSC”), Maune,

  Raichle, Hartley, French & Mudd, LLC (“MRHFM”), as representative for an unofficial

  committee of mesothelioma claimants (the “Meso Committee”), and Levy Konigsberg, LLP

  (“LK”), as counsel for and on behalf of certain mesothelioma claimants, filed the Omnibus

  Motion. The Aylstock Motion was filed on May 4, 2023.

                                       LEGAL STANDARD

         16.    Bankruptcy Code section 503(b) provides in pertinent part:

                After notice and a hearing, there shall be allowed administrative
                expenses, other than claims allowed under section 502(f) of this

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                title, including—
                        [...]
                (3) the actual, necessary expenses, other than compensation and
                reimbursement specified in paragraph (4) of this subsection,
                incurred by—
                        [...]
                         (D) a creditor, an indenture trustee, an equity security
                holder, or a committee representing creditors or equity security
                holders other than a committee appointed under section 1102 of
                this title, in making a substantial contribution in a case under
                chapter 9 or 11 of this title;
                        [...]
                (4) reasonable compensation for professional services rendered by an
                attorney or an accountant of an entity whose expense is allowable under
                subparagraph (A), (B), (C), (D), or (E) of paragraph (3) of this subsection,
                based on the time, the nature, the extent, and the value of such services,
                and the cost of comparable services other than in a case under this title,
                and reimbursement for actual, necessary expenses incurred by such
                attorney or accountant.


         17.    Thus, under section 503(b)(3)(D) the actual, necessary expenses of a creditor that

  makes a substantial contribution in a chapter 11 case is afforded administrative priority. Further,

  pursuant to section 503(b)(4), the reasonable fees and actual, necessary expenses of the creditor’s

  attorneys and accountants are also given administrative expense priority. Section 503(b)(3)(D)

  must be narrowly construed so that administrative expenses will be held to a minimum. See In re

  Worldwide Direct, Inc., 334 B.R. 112, 122 (Bankr. D. Del. 2005) (quoting In re Granite Partners,

  213 B.R. 440, 445 (Bankr. S.D.N.Y. 1997)).

         18.    As the Third Circuit held in Lebron, section 503(b)(3)(D) has two purposes: (1) to

  encourage creditors to participate meaningfully in the reorganization process; and (2) to minimize

  fees and administrative expenses and thereby maximize creditor recoveries. Lebron, 27 F.3d at

  944. A creditor makes a substantial contribution if its efforts provide an “actual and demonstrable

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  benefit to the debtor’s estate and the creditors.” Id. at 943-44 (citation omitted) (quoting In re

  Lister, 846 F.2d 55, 57 (10th Cir. 1988)); see In re Worldwide Direct, Inc., 334 B.R. at 121.

         19.     Creditors are presumed to act in their own interest “until they satisfy the court that

  their efforts have transcended self-protection.” Lebron, 27 F.3d at 944 (citations omitted). The

  activities that a section 503(b)(3)(D) applicant has engaged in are “presumed to be incurred for

  the benefit of the engaging party and are reimbursable if, but only if, the services ‘directly and

  materially contributed’ to the reorganization.” Id. at 943-44 (citation omitted).

         20.     When determining if a claimant has met its burden, courts consider whether the

  services provided (a) were only for the benefit of the claimant or were for the benefit of all parties

  in the case; (b) directly, significantly and demonstrably benefited the estate; and (c) were

  duplicative of the services provided by professionals for the creditors’ committee, the committee

  itself, debtor and its attorneys, or other fiduciaries and their professionals. See In re Worldwide

  Direct, Inc., 334 B.R. at 122 (citing In re Buckhead America Corp., 161 B.R. 11, 15 (Bankr. D.

  Del. 1993)).

         21.     The Movants must prove by a preponderance of the evidence that they made a

  substantial contribution to these cases. See In re Buckhead America Corp., 161 B.R. at 15.

                                            DISCUSSION

         22.     The substantial contributions claims here can be considered in two separate

  categories: (i) fees and expenses incurred for services rendered in the period between the Petition

  Date and the appointment of the Committee, and (ii) fees and expenses incurred for services

  rendered after appointment of the Committee.

         23.     The U.S. Trustee believes this distinction is appropriate for considering the claims

  for substantial contribution in this case. The distinction recognizes the fact that prior to the



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  appointment of a Committee, claimants did not have a designated entity to represent the interests

  of the creditor body as a whole. Although the U.S. Trustee was not involved in the case prior to

  transfer of venue, the U.S. Trustee recognizes (and the docket evidences) there was significant

  activity and substantial issues presented to the North Carolina Bankruptcy Court and the

  Bankruptcy Administrator in the period before a committee could be appointed. The U.S. Trustee

  therefore recognizes it is more likely that services performed in that period may have benefited

  creditors and the estate as whole, with less chance of duplication. Of course, the Movants must

  still meet their burden under section 503 to show administrative expense treatment is warranted.

         24.    However, after the appointment of an official committee, an entity was in place to

  act as a fiduciary and represent the interests of unsecured creditors as a whole. Aylstock must be

  left to its proofs to explain how its independent efforts in this time period were for the benefit of

  all parties in the case, that they did in fact provide a benefit, and were not duplicative.

        WHEREFORE, the U.S. Trustee respectfully submits that the Court deny the Substantial

 Contribution Motions if the Movants are unable to satisfy the standards under Section 503.

                                                Respectfully submitted,

                                                ANDREW R. VARA
                                                UNITED STATES TRUSTEE
                                                REGIONS 3 & 9


 Dated: July 28, 2023                           By: /s/ Lauren Bielskie
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                                                -and-

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